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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                             02-CR-13(JMR/ESS)
                            05-CV-482(JMR/JSM)


United States of America                    )
                                            )
           v.                               )      ORDER
                                            )
Keith Bernard Crenshaw                      )


      Petitioner moves, pursuant to 28 U.S.C. § 2255, to vacate, set

aside, or correct his sentence.          For the reasons set forth herein,

the motion is denied.

I.   Background

      Mr. Crenshaw was imprisoned in late 1995 and early 1996 on a

sentence unrelated to this petition.               He had previously been a

member of the “187" gang (the California penal code section for

murder)   and   the   “ABK”    gang    (for      “anybody    killer”).       While

incarcerated, Mr. Crenshaw met fellow inmate Roosevelt Sanders, a

senior member of the gang named Rolling 60s Crips (the “Crips”).

      Upon his release from prison on June 17, 1996, Mr. Crenshaw

spent time with Mr. Sanders and members of the Rolling 60s Crips.

The Crips had been engaged in a gang war with a St. Paul rival gang

called the Bogus Boys.        As a result, the head of the Rolling 60s

Crips, Terron “Rico” Williams, ordered his gang members to shoot

members of the Bogus Boys on sight.

      On the night of July 20, 1996, Mr. Crenshaw and his two

codefendants, Timothy Kevin McGruder and Kamil Hakeem Johnson,

while driving around, thought they saw several Bogus Boys at a gas
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station in St. Paul.      They were dropped off a block away by their

driver, Maalik Harut, and approached the gas station on foot from

a nearby alley. They fired their weapons over the alley’s six-foot

wooden fence into the gas station parking area where they believed

the Bogus Boys to be.        McGruder’s gun jammed, but Crenshaw and

Johnson fired at least 20 rounds, targeting a car belonging to a

girlfriend of one of the Bogus Boys.           There was no return fire.

The shooting left three women wounded, and Davisha Gillum, a four-

year-old girl, dead.

       Mr. Crenshaw and his two companions ran back to the waiting

car.    They immediately sought out “Rico” Williams to tell him of

the events.      All three defendants bragged about the shooting to

other Crips members and associates until they learned the following

day that they had killed an innocent four-year-old child.

       Eyewitnesses described the shooters as three young black

males, one of whom was very light-skinned.            All three defendants

are black; Mr. Crenshaw is very light-skinned.                  Bullet casings

recovered at the scene pointed to a rare Heckler & Koch pistol and

illegal Black Talon ammunition. Defendant Johnson’s girlfriend had

both a Heckler & Koch pistol and Black Talon bullets prior to the

shooting. Despite these and other leads suggesting the involvement

of the Crips, investigators were unable to develop a triable case

of Davisha Gillum’s murder, largely because no one involved with

the gang would speak out.


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        The matter was put into the hands of the FBI Drug Task Force.

It   spent   several   years   developing      a    case     against     the    Crips

leadership, including “Rico” Williams and his brother, Greg Hymes.

In 2001, Williams, Hymes, and another gang leader were indicted on

federal drug trafficking charges, including a decade-long cocaine-

trafficking conspiracy.        Upon arrest, “Rico” Williams agreed to

cooperate with law enforcement, and identified the shooters in the

Davisha Gillum murder as Crenshaw, McGruder, and Johnson, and the

driver as Harut.       Upon apprehension, Harut admitted driving the

car, and confirmed the shooters’ identities.

        Defendants Crenshaw, McGruder, and Johnson were indicted for

aiding and abetting murder in aid of racketeering activity, a

violation of 18 U.S.C. §§ 2 and 1959.               At trial, five witnesses

testified to the identity of the shooters, as did two others who

heard    defendants    bragging    about    the    murder.         The   government

presented     unrebutted    evidence       showing     the    Crips      to    be    a

racketeering enterprise under the statute, and that defendants’

acts were motivated by a desire to enter the gang or maintain or

increase their position within it.

        The jury found all three defendants guilty of the charge.

Each was sentenced to life in prison.             The Eighth Circuit Court of

Appeals affirmed Mr. Crenshaw’s conviction and sentence.                       United

States v. Crenshaw, 359 F.3d 977, 1005 (8th Cir. 2004).                             Mr.

Crenshaw timely filed this petition.


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II.     Analysis

        Mr. Crenshaw claims the evidence was insufficient to convict

him, because the government failed to prove he acted with the

requisite motive.         He further claims he was denied the opportunity

to    confront     a     witness,   and    that     his    trial     attorneys      were

ineffective for failing to challenge what he believes was false

evidence.       Each of his arguments is without merit.1

        A.    Sufficient Evidence of Motive

        Mr. Crenshaw argues that the evidence presented at trial was

insufficient to show he acted with the motive to gain entrance to,

or to maintain or increase his position in, the Rolling 60s Crips

gang.        Mr. Crenshaw raised this precise issue on direct appeal and

lost, see Crenshaw, 359 F.3d at 995-996.                  This point is beyond the

Court’s review.

        Even considering the issue, however, the Court is well-

satisfied that the evidence was more than sufficient to allow a

jury to find the requisite motive.                   Mr. Crenshaw incorrectly

suggests the government had to prove he was actually a member of

the   Rolling      60s    Crips,    or   was   personally      involved    in    their



        1
      The Court is mindful that a petition under 28 U.S.C. § 2255
is not a substitute for direct appeal. Reid v. United States, 976
F.2d 446, 447 (8th Cir. 1992). Accordingly, the Court may consider
neither matters actually raised on direct appeal, see English v.
United States, 998 F.2d 609, 612-13 (8th Cir. 1993), nor matters
which could have been raised on direct appeal, absent a showing of
cause and substantial, actual prejudice. Ford v. United States,
983 F.2d 897, 898-99 (8th Cir. 1992) (per curiam).

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racketeering activity at the time of the shooting. Yet the statute

covers those who commit murder for the purpose of getting into a

gang that commits racketeering activity, or one who seeks to

maintain     or   increase   his    position     in    such    a    gang.    18

U.S.C. § 1959(a); Crenshaw, 359 F.3d at 992.

     The evidence at trial was sufficient to allow the jury to

infer that Mr. Crenshaw committed the murder to gain admission to

the Rolling 60s Crips. He had previously belonged to the “187" and

“ABK” gangs.      On his release from prison, and shortly before the

murder, he spent time with Mr. Sanders and other members of the

Rolling 60s Crips.       The evidence showed Mr. Crenshaw targeted

members of the Bogus Boys, whom Crips’ leadership had ordered shot

on sight.    After the shooting, Mr. Crenshaw bragged to the gang’s

leadership and other members about shooting at the Bogus Boys to

ensure he would get credit for the activity.            It is certainly no

defense that Mr. Crenshaw and his codefendants missed killing Bogus

Boys while actually killing an innocent victim; their intent

transfers to the actual victim.       United States v. Concepcion, 983

F.2d 369, 381-82 (2d Cir. 1992).         As the Eighth Circuit held, this

evidence was fully sufficient to establish the requisite motive.

Crenshaw, 359 F.3d at 995-96.

     B.     Right to Confrontation

     Mr. Crenshaw claims his attorney was ineffective for failing

to call Roosevelt Sanders as a witness, thereby depriving him of


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his Sixth Amendment right to confrontation.                 He also claims his

appellate counsel should have raised the point on appeal.                   Issues

relating to Mr. Crenshaw’s Sixth Amendment rights could have been

raised on direct appeal, and, therefore, may not be raised in a

petition under Section 2255 absent a showing of substantial, actual

prejudice.   Ford, 983 F.2d at 898-99.              Mr. Crenshaw has made no

such showing.

     His Sixth Amendment claim would fail on the merits even if

properly before the Court.       A defendant has the right to confront

any witness who testifies against him. See Crawford v. Washington,

541 U.S. 36, 54 (2004). Testimonial statements of a witness absent

from trial are admitted only where the declarant is unavailable,

and only where the defendant has had a prior opportunity to cross-

examine.   Id. at 59.

     Here, the government did not introduce any of Roosevelt

Sanders’ statements; it merely showed that he was a member of the

Crips, and that he and Mr. Crenshaw had been incarcerated together

not long before the murder.            While this evidence supported an

inference that Mr. Sanders recruited Mr. Crenshaw to join the

Crips, Mr. Sanders never testified              at trial.    In the absence of

Sanders’   testimony,   there    was       no   violation    of    the   right   to

confrontation.

     Mr. Crenshaw next argues his lawyers were ineffective in not

calling Mr. Sanders to testify.         Mr. Crenshaw now says Mr. Sanders


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would have testified that he and Mr. Crenshaw “had no relationship

that would have allowed a jury to conclude or infer that [Crenshaw]

had a [sic] economic tie to the Rolling 60s Crips . . . .”

(Petition at 17.)           Mr. Crenshaw offers no affidavit or other

evidence in support thereof, without which his claim must fail.

Unsupported assertions that a witness would have exculpated a

defendant are insufficient to prove ineffectiveness, and do not

even require an evidentiary hearing. See Delgado v. United States,

162 F.3d 981, 983 (8th Cir. 1998).

      To prevail on a claim of ineffective assistance of counsel,

Mr. Crenshaw must show both that his counsel’s performance was

deficient and that he suffered actual prejudice as a result.

Strickland v. Washington, 466 U.S. 668, 687 (1984).                    Here, he has

shown      neither;    his    Sixth    Amendment      issue       is    meritless.

Accordingly, this claim is denied.

      C.      Fraud on the Court

      At trial, prison records were admitted showing Mr. Sanders’

and     Mr.    Crenshaw’s     joint    incarceration      at      the    Minnesota

Correctional       Facility    at     Faribault.         This     evidence       was

uncontradicted.       Until his current response to the government’s

reply to this petition, Mr. Crenshaw has never denied he was

incarcerated with Mr. Sanders at Faribault.                   [Docket No. 211,

Movant’s Reply at 8.]         He now claims the evidence was false, and

that, in fact, Mr. Sanders was incarcerated at a different facility


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in Lino Lakes.

       He supports this recent theory by offering Exhibit A to his

petition, an unsworn email apparently from a private investigator

purporting to show that Mr. Sanders was in custody at Lino Lakes in

August, 1995, and released on June 17, 1996.                    If credited, this

document suggests Mr. Sanders served his entire sentence at Lino

Lakes.       This impression is false.

       The official records introduced at trial show Mr. Sanders was

transferred first to Stillwater, and then to Faribault, where Mr.

Crenshaw was serving his sentence, prior to his return to Lino

Lakes.       Exhibit A simply omits these transfers.

       As     Mr.     Crenshaw    has   submitted    no    official     records    to

contradict the government’s evidence, nor other evidence to support

his    claim     of    falsity,    this    claim    is    insufficient,      and   is

accordingly denied.

       The Court has considered whether issuance of a Certificate of

Appealability (“COA”) is appropriate.               See Tiedman v. Benson, 122

F.3d 518, 522 (8th Cir. 1997). In that context, the Court concludes

that    no    issue     raised    in    this   petition    is   “debatable     among

reasonable jurists.” Flieger v. Delo, 16 F.3d 878, 882-83 (8th Cir.

1994) (citation omitted). Petitioner has not made the “substantial

showing of the denial of a constitutional right” necessary for the

issuance of a COA.         28 U.S.C. § 2253(c)(2).




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III.    Conclusion

       For these reasons, Mr. Crenshaw’s petition under 28 U.S.C. §

2255 [Docket No. 202] is denied.          No Certificate of Appealability

shall issue.

       IT IS SO ORDERED.

Dated:    August 2, 2005




                              s/James M. Rosenbaum
                              JAMES M. ROSENBAUM
                              United States Chief District Judge




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